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                                                                              November 12, 2020

VIA ECF
 The Honorable Vera M. Scanlon
 U.S. District Court for the Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

       Re:     Pinela Jurado v. Sabor Hispano et al
               Docket No. 20-cv-01104 (RPS)(VMS)

Dear Judge Scanlon:

       Kindly accept this letter correspondence as the undersigned’s application to withdraw as
attorney of record for Plaintiff(s) in the above referenced action. The reason for the instant
application is that I am no longer an associate at the law firm of Helen F. Dalton & Associates,
P.C.

       As of October 26, 2020, I have been an associate of Phillips & Associates. The Plaintiff(s)
will continue to be represented by attorneys of record from the law firm of Helen F. Dalton &
Associates, P.C.

       Accordingly, I respectfully request that the Court grant my application to withdraw as
counsel of record for the Plaintiff(s) and instruct the Clerk of the Court to remove me from any
applicable service list and to terminate the delivery of all CM/ECF notices to me in the above-
referenced action.

Thank you for your time and consideration of this instant request.

                                                Respectfully submitted

                                                /s/ Janelle Romero________
                                                Janelle J. Romero, Esq.


cc:    All Counsel of Record (Via ECF)
